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Roger Stone did not join alleged relevant conspiracy
      Roger Stone never
                                                                                                    Post email
      mentioned by DNC
                                                                                             dissemination allegation
     in complaint prior to
                                                                                               against Roger Stone
        dissemination
        (July 22, 2016)                                 July 22, 2016
                                                    First Tranche - DNC
                                                      emails released
                                                                                                                            AFTER WikiLeaks disseminated
                                                                                                                            the DNC emails and the Podesta
                                       June 14, 2016,                                                                      emails, it was not until October 13,
                                     Guccifer 2.0 claims                              “...it will soon the Podesta's        2016, well after the release, that
Roger Stone member                   credit for the DNC                                      time in the barrel.”              Roger Stone had his FIRST
   of the Trump                      materials provided                                (Amended complaint ¶ 20)                 unrelated Direct Message
Campaign March 2015                     to WikiLeaks                                            Aug. 21, 2016                   exchange with WikiLeaks




                 Roger Stone parts                           July 22, 2016      Roger Stone’s FIRST and                October 7, 2016, WikiLeaks
                   ways with the                           Plaintiffs’ emails    ONLY 3 direct messages                   publishes emails of
                 Trump Campaign                               posted by         with Guccifer 2.0 begin on                  John Podesta
                   August 2015                             WikiLeaks from            August 14, 2016                       (Not DNC Emails)
                                                            DNC database




                                                                                            All communications with
                                                                                           WikiLeaks & Guccifer 2.0 are
                                                                                              post dissemination of
                                                                                                   DNC emails
